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 5
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                             EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,   )               CASE NO. 1:08-cr-00124 OWW
                                 )
 9        Plaintiff,             )
                                 )               STIPULATION TO
10   v.                          )               AMEND JUDGMENT
                                 )
11   HORTENCIA FLORES,           )
                                 )
12        Defendant.             )
     ____________________________)
13
           The parties hereto, by and through their respective attorneys, stipulate and
14
     agree that Special Condition No. 8 of the judgment in the instant action, signed by
15
     the court on April 20, 2010, be amended to conform with the sentencing order
16
     orally rendered by the court on April 19, 2010, to read as follows:
17
           The defendant shall cooperate with officials from the Immigration and
18
     Customs Enforcement in the verification of her United States citizenship.
19
20   DATED: April 23, 2010               /s/ Karen Escobar
                                         Assistant United States Attorney
21                                       This was agreed to by Ms. Escobar
                                         via email on April 23, 2010
22
23   DATED: April 23, 2010               /s/ Roger K. Litman    __
                                         ROGER K. LITMAN
24                                       Attorney for Defendant
                                         HORTENCIA FLORES
25   IT IS SO ORDERED.
26   Dated: April 23, 2010                    /s/ Oliver W. Wanger
     emm0d6                              UNITED STATES DISTRICT JUDGE
27
28

                                             1
